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                                                                      USDCSDNY
UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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LEE SIEGEL, PHILIP HARRIS, and JORGE                              : ~),\TE FILED:     <..~SI/ Ju
OLIVEROS, individually and on behalf of others
similarly situated,

                              Plaintiffs,
                                                                        13cv1351 (DF)
                      -against-

BLOOMBERG L.P.,

                              Defendant.

                                  JUDGMENT IN A CIVIL CASE

       Decision having been rendered on March 22, 2016, IT IS ORDERED AND ADJUDGED

THAT Defendant is liable and directed to pay to Plaintiffs the sum of $346,341.80, representing

$330,388.17 in attorneys' fees and $15,953 .63 in litigation costs.

       The Clerk of Court is respectfully directed to close this action on the Docket of the Court.

Dated: New York, New York
       March 31, 2016

                                              SO ORDERED



                                              DEBRA FREEMAN
                                              United States Magistrate Judge
